Case 1:22-cv-00285-MLG-SCY   Document 102-1   Filed 03/19/25   Page 1 of 4




                       EXHIBIT A
Case 1:22-cv-00285-MLG-SCY   Document 102-1   Filed 03/19/25   Page 2 of 4




                                                                             Transcript of George Joseph
                                                                                    Madera, M.D.
                                                                                                Date: December 7, 2023
                                                                                 Case: Madera, M.D. -v- Taos Health Systems, Inc., et al.




                                                                             Planet Depos
                                                                             Phone: 888.433.3767
                                                                             Email: transcripts@planetdepos.com
                                                                             www.planetdepos.com



                                                                              WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
                                                                                                     Transcript of George Joseph Madera, M.D.
Case 1:22-cv-00285-MLG-SCY   Document 102-1   Filed 03/19/25   Page 3 of 4

                                                                                                          Conducted on December 7, 2023                 261

                                                                             1    and he also became head of the American College of                          16:26:14
                                                                             2    Cardiology.        Okay?   That's what I was being groomed                  16:26:18
                                                                             3    for.                                                                        16:26:21
                                                                             4                This that you see here is a travesty of how                     16:26:22
                                                                             5    things should be done, ethically and through                                16:26:25
                                                                             6    committees.        It's wrong.                                              16:26:28
                                                                             7           Q.   Okay.                                                           16:26:30
                                                                             8           A.   And I told that to Dr. Moore.                                   16:26:30
                                                                             9           Q.   Okay.     Do you have any evidence that                         16:26:32
                                                                             10   demonstrates that Holy Cross leadership made the                            16:26:36
                                                                             11   statements in the National Practitioner Data Bank                           16:26:38
                                                                             12   report for any other reason that they -- than they                          16:26:42
                                                                             13   thought that they were true?                                                16:26:45
                                                                             14               MR. AKENHEAD:        Form.    Foundation.                       16:26:46
                                                                             15               THE WITNESS:      I'm not sure I understand that                16:26:47
                                                                             16   question.     I think that one way to answer it is that                     16:26:49
                                                                             17   the record speaks for itself.             When they withdrew it,            16:26:53
                                                                             18   they knew it was wrong, period.                                             16:26:57
                                                                             19          Q.   BY MR. JENSEN:        Okay.    You'd agree with me, Dr.         16:26:59
                                                                             20   Madera, that your Complaint in this case alleges that                       16:27:05
                                                                             21   your damages that you claim you have incurred arise out                     16:27:08
                                                                             22   of the filing of the MPDB report at issue, correct?                         16:27:14
                                                                             23          A.   Yes.                                                            16:27:17
                                                                             24          Q.   In other words, you allege that had Holy Cross                  16:27:17
                                                                             25   never filed the MPDB report, you wouldn't have suffered                     16:27:22


                                                                                                                   PLANET DEPOS
                                                                                                      888.433.3767 | WWW.PLANETDEPOS.COM
                                                                                                  Transcript of George Joseph Madera, M.D.
Case 1:22-cv-00285-MLG-SCY   Document 102-1   Filed 03/19/25   Page 4 of 4

                                                                                                       Conducted on December 7, 2023                     262

                                                                             1    any of these damages, correct?                                               16:27:25
                                                                             2        A.      I would qualify that a little bit.         If Holy               16:27:27
                                                                             3    Cross had not filed the illegal, unjust, untempered,                         16:27:31
                                                                             4    unthoughtful MPDB report, no, this wouldn't have                             16:27:39
                                                                             5    happened.                                                                    16:27:43
                                                                             6        Q.      You'd agree with me, Dr. Madera, that,                           16:27:44
                                                                             7    generally speaking, the purpose of the MPDB report is                        16:27:46
                                                                             8    one of public concern?                                                       16:27:49
                                                                             9        A.      Public concern.                                                  16:27:52
                                                                             10       Q.      Or the public interest.                                          16:27:54
                                                                             11               MR. AKENHEAD:     Foundation.                                    16:27:56
                                                                             12               THE WITNESS:     That's possibly true.         I'm not           16:27:57
                                                                             13   sure --                                                                      16:28:00
                                                                             14       Q.      BY MR. JENSEN:     Okay.                                         16:28:00
                                                                             15       A.      -- what it's for because now it's being used as                  16:28:01
                                                                             16   a vehicle to get rid of people that you don't want.                          16:28:03
                                                                             17   Okay?     And there's well documentation for sham peer                       16:28:07
                                                                             18   review.     Patients are ostracized after they're peer                       16:28:12
                                                                             19   reviewed in a false manner, like I was.           They're thrown             16:28:17
                                                                             20   into the MPDB, and they're done for, cooked.               This MPDB         16:28:20
                                                                             21   may have had a -- may have had a very thoughtful,                            16:28:25
                                                                             22   insightful way of helping entities, like committees,                         16:28:33
                                                                             23   like credentialing committees, like hospital staffs, to                      16:28:40
                                                                             24   understand doctor movement from one state to another                         16:28:44
                                                                             25   if they had things reported that were fair, true, and                        16:28:48


                                                                                                                PLANET DEPOS
                                                                                                   888.433.3767 | WWW.PLANETDEPOS.COM
